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7
                      IN THE UNITED STATES DISTRICT COURT
8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,       )        No. CR-S-09-0025-JAM
11                                   )
                    Plaintiff,       )        ORDER FOR CONTINUANCE OF
12                                   )        SURRENDER
          v.                         )
13                                   )
     BLAS MIJANGOS RIVERA, and       )
14   MARTIN MIJANGOS RIVERA,         )
                                     )        Hon. John A.Mendez
15                  Defendants.      )
     _______________________________ )
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17
                                        ORDER
18
          GOOD CAUSE APPEARING THEREFOR,
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20
          IT IS HEREBY ORDERED that the defendant BLAS MIJANGOS RIVERA
21
     be allowed to surrender at a date after April 29, 2011 as follows:
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          1.   Defendant Blas Rivera is currently scheduled to surrender
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          to custody of the court on January 3, 2011.
24
          2.   Defendant Blas Rivera recently discovered a broken bone in
25
          his foot that requires intensive surgery and three months of
26
          recovery time.
27
          3.   Counsel for Blas Rivera, Bruce M. Margolin, has been
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          unable to reach Assistant United States Attorney, Matthew

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1         Stegman, since December 22, 2010 to discuss this urgent
2         matter.
3         4.   Based on the foregoing, it is ordered that the surrender
4         of Blas Rivera be continued until 2:00 P.M. on Thursday, May
5         5, 2011 for the purpose of allowing Blas Rivera to undergo
6         surgery on his foot and ample recovery time for that surgery.
7
8
9    DATED: December 30, 2010
10
11                                    /s/ John A. Mendez
                                      JOHN A. MENDEZ
12                                    UNITED STATES DISTRICT JUDGE
13
     Presented by:
14
     DATED: December 29, 2011
15
16    /s/ Bruce M. Margolin
     Attorney for Defendant
17   BLAS MIJANGOS RIVERA
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